Case 5:22-cr-00003-EKD-JCH Document 14 Filed 01/28/22 Page 1 of 1 Pageid#: 19




                                                     U.S. Department of Justice

                                                     United States Marshals Service

                                                      :HVWHUQ'LVWULFWRI9LUJLQLD



                                                             5RDQRNH9$



SUBJECT:       REQUEST TO HONOR LOCAL WRIT OF HABEAS CORPUS



     01/27/2022
On BBBBBBBBBBBBBBB,                                                    Charles Joseph Hood
                         our office received a writ, requesting inmate BBBBBBBBBBBB
to appear in court for a pending state case. Pursuant to United States Marshals
Service prisoner operations policy, I am requesting your permission to honor a local
writ(s) of habeas corpus for the following prisoner(s) on your docket.

NameRI'HIHQGDQW: Charles Joseph Hood

Requesting Jurisdiction: Rockingham County

Date of Appearance:          01/31/2022

Anticipated Return Date: 01/31/2022

The United States Attorney’s Office is aware of the above writ(s). The signature
below indicates that they are not aware of any conflicts which would cause the USMS
not to honor said writ.




      1/28/22
Date: _______________
                                           SEAN WELSH Digitally signed by SEAN WELSH
                                                      Date: 2022.01.28 10:53:15 -05'00'
                                           __________________________


                                            
                                            Assistant U.S. Attorney

 Please sign below to indicate your permission
                                        ission and
                                               an
                                                nd return this letter for our
                1/28/22
 records. Date: ________________         _
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                                            U.S.
                                            U   S Magistrate Judge
                                            -XGJH
